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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

ELIZABETH ZACHARY, ON BEHALF                    §
OF HERSELF AND ALL OTHERS                       §    CIVIL ACTION NO. 4:16-CV-00754-ALM
SIMILARLY SITUATED,                             §
                                                §      JOINT MOTION TO EXTEND
       Plaintiffs,                              §      MEDIATION DEADLINE AND STAY
                                                §      DISCOVERY
v.                                              §
                                                §
                                                §
COBALT MORTGAGE, INC.,                          §
    Defendant.                                  §


JOINT MOTION TO EXTEND MEDIATION DEADLINE AND STAYING DISCOVERY


       Defendant Cobalt Mortgage, Inc. (“Cobalt”) and Plaintiff Elizabeth Zachary hereby

jointly request that the Court enter an order extending the mediation deadline and issuing a stay

of discovery. All Parties agree to this extension and stay, and as explained below, good cause

exists to extend the deadlines and stay discovery.

       On March 22, 2017, the Court granted conditional FLSA certification and ordered the

Parties to confer and then present the Court with a Joint Scheduling Order. Dkt. 24. Pursuant to

the Court’s Order, on July 12, 2017, the Parties submitted a Proposed Joint Scheduling Order.

Dkt. 39. The Court has not yet ruled on the Parties’ proposed schedule and no scheduling order

has been entered.

       Under the Proposed Joint Scheduling Order, the Parties proposed a mediation deadline of

December 1, 2017. The Parties have since scheduled mediation on December 18, 2017, and

agree to extend the mediation deadline to that date. The Parties also have agreed to stay

discovery pending the outcome of the mediation. If mediation is unsuccessful, the parties agree

to respond to any outstanding discovery within fifteen days of the mediation date and agree to




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extend the close of discovery to March 2, 2018. The Parties further agree to the following post-

mediation deadlines:
                                                DEADLINES1

December 18, 2017            Mediation must occur by this date.

December 29, 2017            Deadline to disclose expert testimony pursuant to FRCP 26(a)(2) and
                             Local Rule CV-26(b)

Six weeks after              Deadline to object to any other party’s expert witnesses. Objections
disclosure of an             shall be made by a motion to strike or limit expert testimony and shall
expert is made.              be accompanied by a copy of the expert’s report in order to provide the
                             court with all the information necessary to make a ruling on any
                             objection.

March 2, 2018                All discovery shall be commenced in time to be completed by this date.

May 3, 2018                  Notice of intent to offer certified records.

May 3, 2018                  Counsel and unrepresented parties are each responsible for (6 weeks
                             before final pretrial contacting opposing counsel and unrepresented
                             parties to conf.) determine how they will prepare the Joint Final Pretrial
                             Order (See Local Rule CV-16(b) and Joint Proposed Jury Instructions
                             and Verdict Form (or Proposed Findings of Fact and Conclusions of
                             Law in nonjury cases).

June 8, 2018                 Video Deposition Designation due. Each party who proposes to offer a
                             deposition by video shall serve on all other parties a disclosure
                             identifying the line and page numbers to be offered. All other parties
                             will have seven calendar days to serve a response with any objections
                             and requesting cross examination line and page numbers to be included.
                             Counsel must consult on any objections and only those which cannot be
                             resolved shall be presented to the court. The party who filed the initial
                             Video Deposition Designation is responsible for preparation of the final
                             edited video in accordance with all parties designations and the court’s
                             rulings on objections.

June 11, 2018                Motions in limine are due.
                             File Joint Final Pretrial Order (See www.txed.uscourts.gov)



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 The Proposed Joint Scheduling Order the parties submitted on July 12, 2017 included a dispositive motions
deadline of October 9, 2017. Because that date has passed, the parties have not included a new dispositive motions
deadline here. However, Cobalt reserves the right to file a dispositive motion, if necessary, at some point in the
future. Plaintiff objects to Cobalt’s filing of any dispositive motion as untimely.

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June 28, 2018             Responses to motions in limine are due.
                          File objections to witnesses, deposition extracts, and exhibits listed in
                          pre-trial order. (This does not extend deadline to object to expert
                          witnesses.)
                          File Proposed Jury Instructions/Form of Verdict (or Proposed Findings
                          of Fact and Conclusions of Law)

Date to be set by the     If numerous motions are filed, the court may set a hearing to consider all
Court. Usually            pending motions and objections.
within 10 days prior
to final pretrial conf.
July 13, 2018             Final Pretrial Conference at 9:00 a.m. at the Paul Brown United States
                          Courthouse located at 101 East Pecan Street in Sherman, Texas. Date
                          parties should be prepared to try case. All cases on the Court’s Final
                          Pretrial Conference docket for this day have been set at 9:00 a.m.
                          However, prior to the Final Pretrial Conference date, the Court will set a
                          specific time between 9:00 a.m. and 4:00 p.m. for each case, depending
                          on which cases remain on the Court’s docket

To be determined          Jury selection and trial at the Paul Brown United States Courthouse
                          located at 101 East Pecan Street in Sherman, Texas. Cases that remain
                          for trial following the Court’s pretrial docket will be tried between __
                          and__. A specific trial date in this time frame will be selected at the
                          Final Pretrial Conference.


        The Court may modify any date on the Case Schedule for good cause. Fed. R. Civ. P. 16.

Here, there is good cause to continue the mediation deadline and discovery deadline dates and

issue a scheduling order consistent with the deadlines set forth above because (1) all the Parties

have stipulated to the continuance and (2) the Parties are attempting to resolve this matter prior

to trial. The Parties are requesting a brief extension to allow time to mediate and resolve this

matter and to conduct discovery if necessary.

        For the above-stated reasons, the Parties jointly request that the Court extend the

mediation deadline until December 18, 2017, stay discovery pending mediation, extend the close

of discovery to March 2, 2018, and extend various other deadlines.




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                                     Certificate of Service


       I hereby certify that a true and correct copy of the above was sent on November 30, 2017

pursuant to the service requirements of the ECF/CM for the Eastern District of Texas which will

notify all counsel of record.

                                                   /s/ Valerie Macan
                                                   Valerie Macan




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